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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

UNITED STATES OF AMERICA,                           §
                                                    §
                         Plaintiff.                 §
                                                    §
v.                                                  §                        CRIMINAL NO. A-21-M-935
                                                    §
FRANKLIN BARRETT SECHRIEST,                         §
                                                    §
                         Defendant.                 §

                                      NOTICE OF APPEARANCE

            Comes now Attorneys Richard Cofer and Megan Rue, and enter this Notice of
     Appearance as lead attorneys of record for the Defendant Franklin Barrett Sechriest.




                                                         Richard Cofer
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                                                         Megan Rue
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                                   CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing has been served by CM/ECF system to
the following registered counsel of record and if not registered, via U.S. Mail:

Matthew Devlin
Assistant United States Attorney
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On this the 15th day of November, 2021.




                                                     Richard Cofer




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